     Case 1-17-46613-nhl               Doc 34-5     Filed 02/28/18      Entered 02/28/18 16:52:02




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re:
                                                                      Chapter 11
        Barcha Cab Corp. et al.,
                                                                      Case No. 17-46613-nhl
                                             Debtor.                  Jointly Administered
------------------------------------------------------------X

                                                                      AFFIDAVIT OF SERVICE
                                                                      SERVICE BY MAIL

STATE OF NEW YORK                  )
                                   )        SS:
COUNTY OF KINGS                    )


        The undersigned, being duly sworn, deposes and says:

            1. I am over the age of eighteen, I am not a party in this case or proceeding and I
reside at Staten Island, New York.

           2. On February 28, 2018 I served the within Debtor’s Opposition and Exhibits
upon the persons listed below by mailing a true copy of the same enclosed in a pre-address
sealed wrapper with postage affixed in a post box maintained under the exclusive care and
custody of the United States Postal Service in the State of New York.


                                                                _/s/________________
                                                                Jasmin Gomez
Sworn to before me this
28th day of February, 2018

__/s/__________________________
NOTARY PUBLIC



                                            *SEE ATTACHED*
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